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APPENDIX A
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IN THE DISTRICT COURT OF THE FOURTH JUDICIAL DISTRICT QEFSBRER D. RICH, Clerk
STATE OF IDAHO, IN AND FOR THE COUNTY OF ADA

   
 

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ERICK VIRGIL HALL,

Petitioner, Case No. CV01-[8-14374
VS,
STATE OF IDAHO, ORDER TEMPORARILY

SEALING TRIAL EVIDENCE AND
AUTHORIZING ACCESS TO
HALL*S COUNSEL AND STATE

Respondent.

 

On August 16, 2018, Petitioner, Erick Virgil Hall (Hall"), moved for leave to inspect
and photograph certain non-documentary trial exhibits to determine whether the exhibits could
potentially give rise to ineffective assistance of appellate counsel elaims to assert in this matter,’
The Court held a hearing on the motion on October 24, 2018. The State indicated it did not

object to Hall’s counsel having access to inspect and photograph the trial exhibits, but did object
io Hall himself being present. The Court orally granted the motion, with the proviso that Hall not
be allowed to attend the inspection. The Court further orders that the following protocol to
access to the trial exhibits be followed (including’s the counsel for Hall and the State):

First, im the event a re-trial is ordered, the Court finds it necessary to temporarily seal the
trial evidence under LC.A.R 32G)(2)C to ensure the evidence is protected from tampering or
damage. Therefore, in the exercise of diseretion, the Court temporarily orders the trial evidence
to be sealed until such time the Court modifies or withdraws this Order upon re-trial. The trial
evidence shall not be subject to examination, inspection, photographing or copying by the public,
unless the Court, as the presiding custodian, individually approves access and the person agrees

to follow the Court's protocol for inspection, examination or copying, to wit:

 

The specific exhibits Hall seeks to access were admitied in Ada County Case No, CR-FE-2003-518 and include

State's 1; State's 9 through State’s 17: States 21 through Siate’s 24; State’s 42 dyrough State's 4b: State's 92 through
State's 97; Staie’s 99: State’s (24 through Suate’s 126: State’s 147 through State’s 138, and; Defense's K through
Defense’s N. fn addition, Hall seeks to access any other non-documentary exhibit admitted at trial,

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With respect to requests to inspect or examine or photograph the trial evidence pursuant
ta LCLALR. 32:

I. Access to the trial evidence shall be held in a location to be determined by the
[evidence Clerk, or the Clerk of the Court designee:

2. Access to the trial evidence shail be directly supervised by the Evidence Clerk, or
the Clerk of the Court designee:

3, No one other than the levidenee Clerk, or the Clerk of the Court designee, shall
handle or touch the trial evidence:

4, Any access shall be recorded by a certified court videographer:

5. The court videographer’s record shall be made an exhibit to this case, and:

4, The State and Hail’s counsel shall be notified and may be present to observe the

inspection or examination or photographing.
For requests to copy an individual trial exhibit, the Evidence Clerk can simply provide a
copy or Scan a copy to the individual requester,
With respect to Hall’s motion to inspect and photograph non-documentary trial exhibits,
the Court hereby approves such access by Hall’s counsel of record and the State, so long as the

foregoing protocol is adhered to.

TIS SO ORDERED

   

Dated this 7 de y of December, 2018,

 

 

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CERTIFICATE OF MAILING -

| hereby certify that on this {4 day of December, 2018, | emailed (served) a true and correct
copy of the within instrument to:

SHAWNA DLINN

NOUGLAS VARIE

ADA COUNTY DEPUTY PROSECUTING ATTORNEY
acpocourtdocs dada web.net

JONAH J. HORWETZ -
PEDERAL DE FENDE R SERVICES OF IDAHO
Jonah Lorwit

  

MARIAH LEWIS
ADA COl UNeY DEPUTY EXHBIT CLERK
INTBRDEPARTMENTAL MAIL

HRISTOPHER D. RICH
Clark at the District © ourt,

Deal Court C lark

  

 

CERTIFICATE OF MAILING

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